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                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WASHINGTON

  UNITED STATES OF AMERICA,              NO. CR-05-180-4-LRS

                Plaintiff,
                                         ORDER AMENDING RELEASE
  vs.                                    CONDITIONS TO AUTHORIZE
                                         OUT-OF-DISTRICT TRAVEL
  BLAKE ALAN CARLSON,

               Defendant.

        BEFORE THE COURT is the defendant’s motion to amend pre-
 sentence release conditions to authorize travel to and from Branson,
 Missouri from July 18, 2007 through July 22, 2007 to attend the
 International Fellowship of Christian Businessmen’s annual convention.
 The parties are in agreement to the proposed amendment.
        THEREFORE IT IS HEREBY ORDERED that the pre-sentence
 release conditions in the above matter be amended to authorize travel to and
 from Branson, Missouri from July 18, 2007 through July 22, 2007.
        DATED THIS 11th DAY OF JULY, 2007


                                                    s/ Cynthia Imbrogno
                                             United States Magistrate Judge
